          Case 2:17-cr-00229-TOR           ECF No. 350        filed 03/13/18     PageID.774 Page 1 of 2
O PS 8
(3/15)                                                                                                 FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                              UNITED STATES DISTRICT COURT
                                                                                              Mar 13, 2018
                                                            for                                   SEAN F. MCAVOY, CLERK


                                           Eastern District of Washington


U.S.A. vs.                 Bowling III, Dannie Paul                    Docket No.            2:17CR00229-TOR-14


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Dannie Paul Bowling III, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John
T. Rodgers, sitting in the Court at Spokane, Washington, on the 18th day of December 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant admitted to smoking methamphetamine on January 2, 2018.

Violation #2: The defendant tested positive for the presence of methamphetamine on February 5, 2018.

Violation #3: The defendant tested positive for the presence of methamphetamine on February 7, 2018.

Violation #4: The defendant admitted to ingesting methamphetamine on February 26, 2018.

Violation #5: Mr. Bowling admitted to ingesting methamphetamine on February 28, 2018.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME


                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       03/13/2018
                                                                  by     s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer
         Case 2:17-cr-00229-TOR      ECF No. 350     filed 03/13/18      PageID.775 Page 2 of 2
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  Re: Bowling III, Dannie Paul
  March 13, 2018
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THE COURT ORDERS
[ X] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other


                                                                  Signature of Judicial Officer

                                                                    March 13, 2018
                                                                  Date
